     2:16-cr-20810-GCS-EAS    Doc # 90   Filed 04/30/18   Pg 1 of 3   Pg ID 2727




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

                                         )
UNITED STATES OF AMERICA,                )
           Plaintiff                     ) Case No. 16-CR-20810-04
                                         )
v.                                       ) Honorable George Caram Steeh
                                         )
TAKATA CORPORATION,                      )
         Defendant.                      )

                ORDER GRANTING SPECIAL MASTER’S
                REQUEST FOR APPROVAL OF PAYMENT
                 PROCEDURES FOR REMAINING OEMS

      Upon the request of Eric D. Green in his capacity as Special Master, with the

consent of Takata Corporation (“Takata”) and the Department of Justice, for

approval of the payment procedures for Restitution Awards previously approved

by the Court in the Order Granting Special Master’s Request for Approval of (1)

Allocation and Distribution of OEM Restitution Fund; and (2) Alternative

Procedures for Distributions in Respect of the OEM Restitution Obligations of

Takata Corporation (Doc. 81) (the “April 3 Order”) to certain automobile

manufacturers (“OEMs”) who purchased PSAN inflators from Takata and/or its

affiliates and subsidiaries and who were not part of the OEM group that consented

to the payment procedures previously approved by this Court in the April 3 Order

and the Order Granting Special Master’s Request for Approval of Revised

Payment Procedures for Certain Consenting OEMs in Respect of the OEM
     2:16-cr-20810-GCS-EAS         Doc # 90     Filed 04/30/18    Pg 2 of 3    Pg ID 2728



Restitution Obligations of Takata Corporation (Doc. 84) (the “Remaining

OEMs”);

       IT IS HEREBY ORDERED that:

       1.      The Special Master’s Request for Approval of Payment Procedures

for Remaining OEMs (Doc. 89) is hereby approved.

       2.      The allocable portion of the $850 million in restitution which the

Court approved to be paid to each of the Remaining OEMs in the April 3, 2018

Order shall be paid to the Remaining OEMs who sign the Distribution and Release

Agreement1 and provide the Special Master with a mailing address, which the

Special Master determines, in his discretion, to be accurate.

       3.      The distribution of the Remaining OEM’s allocable share of the OEM

Restitution Amount fully satisfies the Special Master’s obligations under the

Court’s prior orders in this action with regard to the $850 million OEM Restitution

Amount. For the avoidance of doubt, upon the Special Master's delivery to Federal

Express of the Remaining OEM’s OEM Restitution Amount, the Special Master’s

and his agent’s responsibilities and obligations in connection with the payment of

the OEM Restitution Amount allocated to such OEM shall be discharged in full,




1   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
    Special Master’s Request for Approval of Payment Procedures for Remaining OEMs (Doc.
    _____).


                                                2
    2:16-cr-20810-GCS-EAS      Doc # 90   Filed 04/30/18   Pg 3 of 3   Pg ID 2729



and the Special Master and his agents and professionals shall be released from any

liability, claim or loss to such OEM.

      4.      This Court retains jurisdiction over all matters covered by, or related

to, this Order.


So ordered.

Dated: April 30, 2018
                                        s/George Caram Steeh
                                        GEORGE CARAM STEEH
                                        UNITED STATES DISTRICT JUDGE




                                          3
